                                   Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 1 of 8




                                              UNITED STATES DISTRICT COURT
                                              NORTHERN DISTRICT OF GEORGIA
                                                    ATLANTA DIVISION


                         PAULA MURPHY,
                                                                      COMPLAINT FOR DAMAGES
                                                Plaintiff,
                                                                      Case No. ___________________
                         v.

                         EAGLE EYE PROTECTION, INC., and                   JURY TRIAL REQUESTED
                         LACY E. WRIGHT, III, an individual,

                                                Defendants.


                                                             INTRODUCTION

                              1. Plaintiff Paula Murphy worked as security guard for Defendants’ security

                                 company for almost two years from 2019 to 2021. At first Defendants

                                 classified her as an employee. However, starting in June 2020, Defendants

                                 classified her as an independent contractor and stopped paying her overtime

                                 pay, even though she consistently worked more than 40 hours a week.

                              2. To challenge this wage violation, Plaintiff brings this action, by and through

                                 her attorneys, against Defendants Eagle Eye Protection, Inc., and its principal,

                                 Lacy Wright, III, an individual, to recover unpaid or underpaid wages and




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                                  Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 2 of 8




                               other damages under the provisions of the Fair Labor Standards Act of 1938,

                               as amended, 29 U.S.C. § 201, et seq. (hereinafter “FLSA”).

                                                     JURISDICTION AND VENUE

                           3. This Court has jurisdiction over the subject matter of the action pursuant to

                               28 U.S.C. § 1331, by virtue of federal questions, 29 U.S.C. § 201 et seq. of

                               the FLSA.

                           4. Venue lies with this Court pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. §

                               201 et seq. A significant portion of the events giving rise to the instant

                               litigation occurred at the Defendants’ agency which is based in Fulton County,

                               and one or more of the Defendants named herein resides in this district.

                                                                 PARTIES

                         Defendant Eagle Eye Protection, Inc.

                           5. Defendant Eagle Eye Protection, Inc. (hereinafter “Eagle Eye”) is a

                               corporation doing business within the Northern District of Georgia, whose

                               principal place of business is located at 3330 Cumberland Bvld, Suite 500,

                               Atlanta, GA, 30339. Its registered agent is listed with the Georgia Secretary

                               of State as Lacy E Wright, III at the same address.

                           6. At all relevant times, Defendant Eagle Eye has had annual gross revenues in

                               excess of $500,000.

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                            Murphy v. Eagle Eye                                                     Complaint
       Suite 615            USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                   Page 2
www.andersondodson.com
                                  Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 3 of 8




                           7. Eagle Eye is licensed with the State of Georgia as a Private Detective /

                               Security Agency, License No. PSC001897, originally issued 1/15/2008, last

                               renewed 7/8/2021, and currently set to expire 6/30/2023. This licensure

                               process is governed by O.C.G.A. § 43-38-1ff.

                           8. The facility at which Plaintiff was stationed during the entirety of her work

                               for Defendants, i.e. the entity whose offices she guarded in Doraville,

                               Georgia, describes itself as “a global managed services company focused on

                               supporting broadcasters (TV and radio), television networks, sports leagues

                               and OTT platforms.”

                           9. At all relevant times, Defendant Eagle Eye was engaged in interstate

                               commerce and/or the production of goods for commerce, within the meaning

                               of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

                           10. At all times material to this action, Defendant Eagle Eye was subject to the

                               FLSA and was an “employer” of the Plaintiff, as defined by § 203(b) of the

                               FLSA.

                         Defendant Lacy Wright

                           11. Defendant Lacy Wright, III an individual, resides in Loganville, Georgia,

                               County, upon information and belief.

                           12. Defendant Wright is the owner, or an owner, of Eagle Eye.

ANDERSONDODSON, P.C.
     11 Broadway
                            Murphy v. Eagle Eye                                                   Complaint
       Suite 615            USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                Page 3
www.andersondodson.com
                                  Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 4 of 8




                           13. Defendant Wright is the founder of Eagle Eye.

                           14. Defendant Wright is the President and/or CEO of Eagle Eye.

                           15. At all times material to this action, Defendant Wright exercised substantial

                               control over the functions of the company’s employees including Plaintiff. He

                               hired her, had the authority to terminate her employment, decided the manner

                               and timing of her payments, and determined the work location at which she

                               would be performing services

                           16. At all times material to this action, Defendant Wright was an “employer” of

                               the Plaintiff, as defined by § 203(b) of the FLSA.

                         Plaintiff Paula Murphy

                           17. Plaintiff Paula Murphy is a resident of Atlanta, Georgia.

                           18. At all times material to this action, Plaintiff Murphy was an “employee”

                               within the meaning of 29 U.S.C. § 203(e).

                           19. Plaintiff Paula Murphy worked for Defendants as a security guard from

                               August 27, 2019 to May 23, 2021.

                           20. Plaintiff’s primary supervisor was Defendant Wright.

                           21. In general Ms. Murphy worked 3:00pm to 11:00pm five days a week

                               plus 7:00am to 7:00pm Saturday and Sunday, for a total of 64 hours a week.



ANDERSONDODSON, P.C.
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                            Murphy v. Eagle Eye                                                    Complaint
       Suite 615            USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                 Page 4
www.andersondodson.com
                               Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 5 of 8




                         22. In around the first of April, 2021, her weekend hours decreased to 16 rather

                            than 24.

                         23. In addition, if the relief worker did not show up or showed up late she would

                            have to work additional time.

                         24. Her rate of pay was $12.00 per hour in 2020 and $13.00 in 2021.

                         25. For the overtime hours she worked the company only paid her at her regular

                            rate of pay rather than time and a half.

                                                          LEGAL CLAIMS

                                          As And For A First Cause of Action:
                                        FAIR LABOR STANDARDS ACT (FLSA) VIOLATIONS

                         26. Plaintiff realleges and incorporates by reference each allegation contained in

                            the paragraphs above, and by reference repleads and incorporates them as

                            though fully set forth here.

                         27. Defendants failed to compensate Plaintiff at a rate of one and one half times

                            her normal hourly rate(s) for all hours over 40 worked in a workweek, in

                            violation of the FLSA.

                         28. Defendants have been wrongfully treating Plaintiff as if she were an

                            independent contractor when in fact she was an “employee” as defined by the

                            FLSA.


ANDERSONDODSON, P.C.
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                         Murphy v. Eagle Eye                                                      Complaint
       Suite 615         USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                               Page 5
www.andersondodson.com
                               Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 6 of 8




                         29. Defendant set Plaintiff’s schedule.

                         30. If Plaintiff were to fail to come to work as scheduled or failed to perform as

                            instructed, she would be subject to discipline or termination.

                         31. The kind of work that Plaintiff performed is part of the company’s normal

                            business operations and services it renders.

                         32. Defendants require Plaintiff to wear a uniform.

                         33. While working for Defendants, Plaintiff did not also work for other companies

                            or entities.

                         34. When Plaintiff began working for Defendants, no specific duration was given

                            for how long she would be working for the company.

                         35. Plaintiff did not utilize particularly specialized or unique skills in order to

                            perform her duties working for Defendants.

                         36. At all times material to this action, the Plaintiff was in fact an “employee”

                            within the meaning of 29 U.S.C. § 203(e).

                         37. Based on the above, Plaintiff estimates she is owed overtime as follows:

                            6/1/2020 – 12/31/2020: 30 weeks x 24 hrs/week x $6/hr       = $ 4,320
                            1/1/2021 – 3/30/2021: 13 weeks x 24 hrs/wk x $6.50/hr       = $ 2,028
                            4/1/2021 – 5/23/2021: 7 weeks x 16 hrs/wk x $6.50/hr        = $ 728
                                                                       Total            = $ 7,076

                         38. Defendants had no good faith basis for believing that their pay practices as


ANDERSONDODSON, P.C.
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                         Murphy v. Eagle Eye                                                        Complaint
       Suite 615         USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                  Page 6
www.andersondodson.com
                               Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 7 of 8




                            alleged above were in compliance with the law.

                         39. The foregoing conduct constitutes a “willful” violation of the FLSA, 29

                            U.S.C. § 255(a).

                         40. As a result of the violations by Defendant of the FLSA, the Plaintiff is entitled

                            to all damages available under the FLSA which include, but are not limited

                            to, all unpaid overtime, liquidated damages, attorney fees, costs, and interest,

                            as set forth in the FLSA, more specifically 29 U.S.C. § 216(b).


                                                        PRAYER FOR RELIEF

                         WHEREFORE, Plaintiff respectfully requests that this Court grant the following

                         relief:

                            (A)    Award Plaintiff unpaid and underpaid wages due under the FLSA;

                            (B)    Award Plaintiff liquidated damages in the amount of her unpaid FLSA

                                   wages pursuant to 29 U.S.C. § 216(b);

                            (C)    Award Plaintiff interest;

                            (D)    Award Plaintiff the costs of this action together with reasonable

                                   attorneys' fees; and

                            (E)    Award such other and further relief as this Court deems necessary and

                                   proper.


ANDERSONDODSON, P.C.
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                         Murphy v. Eagle Eye                                                         Complaint
       Suite 615         USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                Page 7
www.andersondodson.com
                                  Case 1:21-cv-04447-SCJ Document 1 Filed 10/27/21 Page 8 of 8




                                                    DEMAND FOR TRIAL BY JURY

                               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff

                         demands a trial by jury on all questions of fact raised by the complaint.

                               Respectfully submitted, this 27th day of October, 2021.


                                                                   ANDERSONDODSON, P.C.

                                                                   s/ Penn Dodson
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                                                                   Attorney for Plaintiff




                                                 CERTIFICATE OF COMPLIANCE

                               I certify that this filing complies with the requirements of Local Rule 5.1(C)

                         by using Times New Roman, 14 point.




ANDERSONDODSON, P.C.
     11 Broadway
                            Murphy v. Eagle Eye                                                      Complaint
       Suite 615            USDC, Northern District of Georgia
 New York, NY 10004
     212.961.7639                                                  Page 8
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